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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA                             Case No.: 1:23-cr-00194-AKB

 vs.                                                  APPLICATION FOR WRIT OF
                                                      HABEAS CORPUS
 TYSON GREENE MITCHELL,


       The undersigned Assistant United States Attorney for the District of Idaho hereby makes
application to the Court for the issuance of a Writ of Habeas Corpus:

              (9) ad Prosequendum                               () ad Testificandum

Name of Detainee: Tyson Greene Mitchell, aka Tyson Greene Martinez; IDOC: 95338

Custodian: Idaho Department of Corrections c/o ISCC, 14601 S. Pleasant Valley Rd.,
           City: Kuna      State: Idaho

Detainee is: (9) charged in this District by Indictment
                      or
             () is a witness not otherwise available by the ordinary process of the Court.

Appearance is necessary on: August 28, 2023 at 10:00 a.m. at the Federal Courthouse in Boise,
Idaho, Courtroom 7.

                     Before: The Honorable Raymond E. Patricco, Chief U.S. Magistrate Judge
                              (Judicial Officer)

Dated: August 4, 2023                              /s/ Francis J. Zebari ___________________
                                                   FRANCIS J ZEBARI
                                                   Assistant United States Attorney

                                      Writ of Habeas Corpus

              (9) ad Prosequendum                               () ad Testificandum

        The application is GRANTED and the above-named custodian, as well as the U.S.
Marshal for this district, is hereby O
                                     ORDERED
                                      RDERED to produce the named detainee on the date and
time listed above, and for any further
                                     er proceedings to be held in this cause. At the conclusion of
these proceedings, the U.S. Marshall shall return the
                                                   hee detainee
                                                          a nee to the aabove-named
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                                                                         bo    nam
                                                                                 med custodian.

Dated: _____________________
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                                             The Honorable
                                                  Honoraabl   Raymond
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                                                              R  ymond E. Patricco,
                                             Chief U.S. Magistrate Judge
